                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


United States of America,                )
                                         )
                                         )
v.                                       )                No. 3-07-cr-00159-1
                                         )
                                                          Judge Aleta Trauger
                                         )
                                         )
James C. McWhorter,                      )
                                         )
        Defendant.                       )
                                         )


                                 Notice of Appearance

        Comes now John Tennyson, Attorney at Law, and hereby gives notice of his

representation of James Christopher McWhorter in this matter.


Date: August 6, 2018

                                                Respectfully Submitted,

                                                John Tennyson (BPR# 32777)
                                                611 Commerce Street
                                                Suite 2609
                                                Nashville, Tennessee 37203
                                                615-506-3108
                                                jtennyson@nashville-law.com



                                                ____/s/ John Tennyson_____
                                                John Tennyson




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                                   Notice of Appearance
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                                   Certificate of Service
       I, John Tennyson, do hereby certify that I have forwarded a true and correct copy of

the foregoing pleading via CM/ECF to the United States Attorney’s Office for the Middle

District of Tennessee:

S. Carren Daughtry
Assistant United States Attorney
110 9th Ave S
# A961
Nashville, TN 37203


       On this 6th day of August 2018.




/s/ John Tennyson________
John Tennyson




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